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                      THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 SECURITIES AND EXCHANGE                      §
 COMMISSION,                                  §
     Plaintiff,                               §
                                              §
 v.                                           §
                                              §    Case No.: 4:16-CV-00246
 WILLIAM E. MAPP, III,                        §
 WARREN K. PAXTON, JR.,                       §
 CALEB J. WHITE, and                          §
 SERVERGY, INC.                               §
      Defendants.                             §
                                              §
                                              §

 ______________________________________________________________________________

                              INDEX OF EXHIBITS
 ______________________________________________________________________________

  Exhibit No.   Exhibit Description
  A             Declaration of David Klaudt
  B             Transcript excerpts from testimony of William E. Mapp, III on April 2-3, 2014
  C             Transcript excerpts from testimony of Caleb White on July 23, 2015
  D             Transcript excerpts from testimony of Lance Smith on June 14, 2014
  E             Form D Filing - 3-18-11
  F             Form D Filing - 3-18-11
  G             Form D Filing - 11-17-11
  H             Form D Filing - 5-10-12
  I             Form D Filing - 2-13-13
  J             Form D Filing - 4-15-13
  K             Declaration of David R. Mayeux
  L             Declaration of William E. Mapp, III
  M             3/30/2010 Minutes of Board Meeting
  N             Series A Subscription Agreement
  O             Private Placement Memorandum - February 14, 2013
  P             Dominion Joint Venture Group 1 Subscription Agreement
  Q             9/28/2011 Minutes of Board Meeting
  R             Series B Subscription Agreement
  S             Dominion Joint Venture Group 2 Subscription Agreement
  T             Series C Subscription Agreement



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 Exhibit No.    Exhibit Description
 U              7/13/2011 Email between K. Paxton and B. Mapp
 V              10/4/2011 Email between K. Paxton and B. Mapp
 W              4/4/2012 Email from B. Mapp
 X              4/19/2012 Minutes of Board Meeting
 Y              7/3/2012 Email from B. Mapp
 Z              Dominion Joint Venture Group 3 Subscription Agreement
 AA             5/23/2013 Minutes of Special Meeting of Board of Directors
 BB             7/30/2013 Master Customer Agreement by and between Avnet, Inc
 CC             11/27/2013 Email from B. Mapp to L. Smith
 DD             12/8/2013 Email from A. Kaistha to B. Mapp
 EE             7/24/2013 Email between L. Smith, B. Barton, and Henry Exall
 FF             1/23/2013 Email between B. Mapp, Henry Exall, and A. Stoner
 GG             7/19/2012 Minutes of Board Meeting
 HH             Signed Nondisclosure Agreement
 II             Signed Subscription Agreement
 JJ             Exhibit JJ intentionally left blank
 KK             11/12/2014 Minutes of Special Meeting of Board of Directors
 LL             7/31/2013 PPM Supplement
 MM             7/19/2012 Minutes of Board Meeting
 NN             2/13/2012 Email from B. Mapp to F. Hubach
 OO             4/6/2012 Email from B. Mapp to M. Holder
 PP             4/16/2012 Email from M. Holder to B. Mapp
 QQ             4/18/2012 Email from M. Holder to B. Mapp
 RR             3/23/2011 Email from B. Mapp to C. White
 SS             8/19/2012 Email from R. Oostdyk to B. Mapp
 TT             5/24/2012 Email from M. Holder to Dr. G. Earl
 UU             5/7/2012 Email from M. Holder to B. Mapp
 VV             7/21/2010 Email between B. Mapp, C. White, and D. Edwards
 WW             3/28/2011 Email between M. Holder, C. White, and B. Mapp
 XX             Exhibit XX intentionally left blank
 YY             11/27/12 Email between L. Smith, B. Barton, and B. Mapp
 ZZ             11/28/2012 Email from L. Smith to B. Mapp
 AAA            3/19/2013 Email from L. Smith to B. Mapp
 BBB            2/5/2013 Email chain between L. Smith, Baker & McKinzie, and WFG
 CCC            11/29/2012 WFG Financial Signed Confidentiality Agreement
 DDD            1/10/2013 WFG/Servergy Placement Agreement
 EEE            6/20/2013 Email between L. Smith, B. Mapp, and R. Tannery
 FFF            Exhibit FFF intentionally left blank
 GGG            11/1/2009 Confidential Information Memo
 HHH            12/1/2010 Confidential Information Memo
 III            7/4/2011 Confidential Information Memo
 JJJ            1/30/2013 Email from R. Jones at WFG to L. Smith attaching revised


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 Exhibit No.    Exhibit Description
                documents
 KKK            1/29/2013 Email from L. Smith to B. Mapp
 LLL            2/8/2013 Email from L. Smith to B. Mapp
 MMM            7/2/2013 Email from L. Smith to B. Mapp
 NNN            9/5/2013 Email from L. Smith to R. Tannery
 OOO            8/24/2013 Email between L. Smith and B. Mapp
 PPP            6/24/2013 Email between L. Smith and B. Barton at WFG
 QQQ            7/27/2013 Email from L. Smith to B. Mapp
 RRR            9/13/2013 Email chain between B. Mapp, R. Tanney, L. Smith and others
 SSS            2/27/2013 Email between L. Smith, C. Acree, and B. Barton at WFG
 TTT            4/12/2013 Email from Will Mapp to Chris R.
 UUU            7/26/2012 Email between R. Mayeux and B. Mapp
 VVV            7/30/2012 Email between R. Mayeux and B. Mapp
 WWW            7/21/2010 Email between B. Mapp and R. Mayeux
 XXX            6/30/2011 Email between B. Mapp, R. Mayeux, M. Holder
 YYY            2/27/2012 Email between R. Mayeux and B. Mapp
 ZZZ            12/7/2011 Email from B. Mapp to R. Mayeux et al.
 AAAA           1/17/2011 Email between R. Mayeux and B. Mapp
 BBBB           11/11/2010 Email between R. Mayeux, B. Mapp, and J. Mayeux
 CCCC           4/9/2010 Email between B. Mapp and R. Mayeux
 DDDD           9/26/2013 Email from A. Fry to B. Mapp and R. Mayeux
 EEEE           11/3/2013 Email from R. Mayeux to B. Mapp
 FFFF           11/25/2013 Email between B. Mapp, K. Elder, R. Mayeux, and A. Fry
 GGGG           8/15/2012 Email between B. Mapp and R. Mayeux
 HHHH           10/8/2012 Email between B. Mapp and R. Mayeux
 IIII           8/8/2012 Email between B. Mapp and R. Mayeux




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